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 September 4, 2015


 The Honorable T.S. Ellis, III
 United States District Court Judge
 Eastern District of Virginia
 401 Courthouse Square
 Alexandria, Virginia 22314;


 Dear Judge Ellis,


 I am the founder of a developer community and events organization
 called "Modev", which consists of about 10,000 developers
 nationally. I have known Muneeb Akhter for the past four years as
 he and his brother Sohaib have participated in several of our
 events. It was very apparent that they were extremely gifted
 technologically. The brothers worked hard and were always polite.
 I also recall that we made accommodations so that they could pray
 during one of our events.

 On more than one occasion Muneeb sought my advice about how he
 and his brother could market their company, Warden Systems. I
 encouraged them to continue to participate in conferences,
 hackathons (a contest where developers compete to build the best
 app in less than 24 hours) and other events. They seemed to have
 been successful in getting a foothold in the market.

 I believe our nation faces an impending security crisis as
 attacks on our networks get more sophisticated and our data and
 infrastructure becomes more vulnerable than ever. I realize that
 Muneeb leveraged his gifts for the wrong reasons but I also know
 that we need more people with his type of raw talent and
 expertise to help us overcome our security challenges. I hope
 that you will consider this dynamic in your sentencing of Mr.
 Akhter.

 Sincerely,
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 Peter Erickson
 Founder, Modev
